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            EXHIBIT
              “B”

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 From:           Muehleck, Tom (USAHI)
 To:             Max Mizono; Megan Kau
 Subject:        U.S.v. Walter Glenn Primrose and Gwynn Darle Morrison Cr. No. 22-00060 LEK
 Date:           Friday, August 5, 2022 2:26:09 PM


 Good afternoon. Please be advised that a witness has said that the photos of Defendants Primrose
 and Morrison in a KGB uniform were taken sometime in the 1990s. Federal agents were given the
 alleged uniform.




                                      EXHIBIT "B"
